 OAO 245D     (Rev. 12/07) Judgment in a Criminal Case for Revocations
              Sheet 1



                                      UNITED STATES DISTRICT COURT
                       MIDDLE                                       District of                              TENNESSEE
        UNITED STATES OF AMERICA                                              JUDGMENT IN A CRIMINAL CASE
                            V.                                                (For Revocation of Probation or Supervised Release)


            CHRISTOPHER NARRAGON                                              Case Number:                   3:04-00062-2
                                                                              USM Number:                    16642-075
                                                                              G. Kerry Haymaker
                                                                              Defendant’s Attorney
THE DEFENDANT:
X admitted guilt to violation of condition(s) One (1) – Four (4) & Six (6)                     of the term of supervision.

G was found in violation of condition(s)                                                  after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number                 Nature of Violation                                                               Violation Ended

        1                    Defendant shall maintain verifiable employment subject to the                              3/11/15
                             approval of the United States Probation Office and provide any
                             documentation requested by the Probation Office
        2                    Defendant shall answer truthfully all inquiries by the Probation                           3/20/15
                             Officer and follow the instructions of the Probation Officer
        3                    Defendant shall participate in a program of drug testing and                               3/19/15
                             substance abuse treatment which may include a 30-day inpatient
                             treatment program followed by up to 90 days in a community
                             corrections center at the direction of the Probation Officer
        4                    Defendant shall notify the Probation Officer at least 10 days prior                        3/6/15
                             to any change in residence or employment
        6                    Defendant shall refrain from any unlawful use of a controlled                              6/16/15
                             substance

      The defendant is sentenced as provided in pages 1 and 2 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.
X The defendant has not violated condition(s)                      Five (5)            and is discharged as to such violation(s) condition.

         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this Judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of material changes in
economic circumstances.

Last Four Digits of Defendant’s Soc. Sec. No.                1434                 January 28, 2016
                                                                                  Date of Imposition of Judgment

Defendant’s Year of Birth:              1979
                                                                                  Signature of Judge

City and State of Defendant’s Residence:                                          Todd J. Campbell, United States District Judge
                                                                                  Name and Title of Judge
                  Gallatin, Tennessee
                                                                                  January 28, 2016
                                                                                  Date


            Case 3:04-cr-00062                 Document 259              Filed 01/28/16              Page 1 of 2 PageID #: 323
AO 245D         (Rev. 12/07 Judgment in a Criminal Case for Revocations
                Sheet 2 – Imprisonment


DEFENDANT:               CHRISTOPHER NARRAGON                                         Judgment — Page 2 of 2
CASE NUMBER:             3:04-00062-02
                                                     IMPRISONMENT

         The Defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:   eleven (11) months
        Defendant shall serve the balance of the term of Supervised Release with the following additional condition:
        Defendant shall serve his term of Supervised Release in a halfway house

          X     The Court makes the following recommendations to the Bureau of Prisons:
                1. Defendant should serve his sentence in a local jail until he transitions to a halfway house.
                2. Defendant should be transferred from jail to a halfway house as soon as a bed in the halfway house is
                available.

          X     The Defendant is remanded to the custody of the United States Marshal.

                The Defendant shall surrender to the United States Marshal for this District:
                         at                         p.m. on
                ____     as notified by the United States Marshal.

                The Defendant shall surrender for service of sentence at the institution designated by the Bureau of
                Prisons.
                         before 2 p.m. on
                ____     as notified by the United States Marshal.
                ____     as notified by the Probation or Pretrial Services Office.


                                                          RETURN
        I have executed this Judgment as follows:

_________________________________________________________________________________________________
_________________________________________________________________________________________________
_________________________________________________________________________________________________
        Defendant delivered on ______________________________ to _______________________________________
a ___________________________________________ with a certified copy of this Judgment.

                                                                     _____________________________________________
                                                                     United States Marshal




                                                                     By: __________________________________________
                                                                         Deputy United States Marshal
          Case 3:04-cr-00062            Document 259          Filed 01/28/16         Page 2 of 2 PageID #: 324
